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1    Michael Jay Berger (SBN 100291)
     Law Offices of Michael Jay Berger
2    9454 Wilshire Blvd., 6th Floor
     Beverly Hills, CA 90212
3    Telephone: (310) 271-6223
     Fax:          (310) 271-9805
4    E-mail:       michael.berger@bankruptcypower.com
5    Counsel for Debtor-in-Possession
     New Holland LLC
6

7
                             UNITED STATES BANKRUPTCY COURT
8
                              CENTRAL D ISTRICT OF CALIFORNIA
9
                                        LOS ANGELES DIVISION
10

11   In re:                                    Chapter 11
12
                                               Bankruptcy No.: 2:21-bk-16454-BR
13
                                               DEBTOR’S OPPOSITION TO GRIMM
14
                                               INVESTMENTS, LLC’S MOTION TO
15
     New Holland LLC,                          DETERMINE CASE IS SINGLE ASSET
                                               REAL ESTATE; DECLARATION OF
16                                             MICHAEL JAY BERGER IN SUPPORT
17                                             THEREOF

18                                       Hearing is Set For:
19
                                 Debtor. Date:      October 12, 2021
                                         Time:      1:00 p.m.
20
     ___________________________________ Location: Courtroom 1668
                                                    255 E. Temple Street
21                                                  Los Angeles, CA 90012
22

23

24
              TO THE HONORABLE BARRY RUSSELL, JUDGE OF THE UNITED STATES
25
     BANKRUPTCY COURT, TO SECURED CREDITOR GRIMM INVESTMENTS, LLC
26
     AND ITS COUNSEL OF RECORD, TO THE UNITED STATES TRUSTEES OFFICE,
27
     AND TO ALL INTERESTED PARTIES AND THEIR COUNSEL OF RECORD:
28

                                                 1
      DEBTOR’S OPPOSITION TO GRIMM INVESTMENTS, LLC’ MOTION TO DETERMINE CASE IS SINGLE ASSET
                                           REAL ESTATE
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1
                                         I.        INTRODUCTION
2
            Secured Creditor, Grimm Investments, LLC (“Creditor” or “Movant”) Motion To
3
     Determine Case Is Single Asset Real Estate; Declaration of Charles R. Grimm (“Motion”)
4
     should be denied because Debtor is not a single asset real estate (“SARE”) because Debtor’s real
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     property assets consist of eight parcels with different APN Numbers and different addressed;
6
     Debtor is currently not collecting any income from the properties; Creditor fails to meet the
7
     elements required for the case to be considered a SARE; The vacant lots are intended for single
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9
     family residence construction; Debtor’s plan and disclosure statements are due by October 12,

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     2021; and the Mulholland Property alone is a single-family residence with less than four units;

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12
                                              II. ARGUMENT

13          Creditor’s Motion Should Be Denied Because The Debtor Is Not a Single Asset Real

14          Estate Case As Defined In 11 U.S.C. Section 101(51B).

15          11 U.S.C. Section 101(51B) defines the term “single asset real estate” to mean real
16   property constituting a single property or project, other than residential real property
17   (emphasis added) with fewer than 4 residential units, which generates substantially all of the
18   gross income of a debtor (emphasis added) who is not a family farmer and on which no
19   substantial business is being conducted by a debtor other than the business of operating the real
20   property and activities incidental thereto.
21          Debtor’s schedule A/B list seven vacant lots and a single-family residence located at
22   13511 Mulholland Drive, Beverly Hills, CA 90210 (“Mulholland Drive Property”). Each vacant
23   lot is identified by different APN number. Some of the vacant lots are located in the city of
24
     Sherman Oaks while others are located in the city of Beverly Hills. Each parcel is intended for a
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     separate project. The reason that the Debtor combined the Mulholland Drive Property and the
26
     vacant lots together on Schedule A/B is because Creditor has a lien against all the properties,
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                                                      2
      DEBTOR’S OPPOSITION TO GRIMM INVESTMENTS, LLC’ MOTION TO DETERMINE CASE IS SINGLE ASSET
                                           REAL ESTATE
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1
     and it made sense to list them on the same line versus creating eight different line items and
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     linking each parcel to Creditor’s secured obligations.
3
            One of the elements required for the case to be considered a single asset real estate case is
4
     that the Debtor generate substantially all of the gross income of the Debtor from the property.
5
     Creditor’s own Motion supports Creditor’s inability to meet the income element of the SARE
6
     test because the Debtor is not generating any income from any of the properties. Specifically, on
7
     page 2 lines 11 – 13, Creditor states that “Debtor lists no income for the past three years.
8
     Nothing else in the Statement of Financial Affairs suggests that there is any business activity in
9
     the Debtor.” Since the Debtor has no income, this element of the SARE test is not met.
10

11
            Creditor’s Motion quotes Section 362(d)(3) which provides that “relief from stay is

12
     appropriate unless the Debtor either commences interest payments at the pre-petition non-

13   default interest rate or files a plan that has a reasonable possibility of confirmation. Those acts

14   must be commenced upon the later of 90 days after the petition date, or 30 days after the court

15   determines the case to be a SARE.” See Creditor’s Opposition, page 2, lines 19-23. The filing
16   of Creditor’s Motion was unnecessary. The hearing on Creditor’s Motion is set for October 12,
17   2021, which is the same day the Debtor’s plan and disclosure statements are due. Debtor is
18   presently working on its plan and disclosure statement with its counsel and anticipates to have
19   these documents filed on or before October 12, 2021, which is well within the 90-day period
20   from the petition date.
21          The Mulholland Property is a single family residence consisting of 5 bedrooms and 4
22   bathrooms. The term “single asset real estate” specifically excludes a residential real property
23   with fewer than 4 residential units, which is exactly what the Mulholland Property is.
24
     Furthermore, the “single asset real estate” means real property consisting of a single property or
25
     project. As noted above, the Debtor owns 7 separate parcels of land with different APN
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     numbers in different city locations. As such, they cannot be part of a “single project” which is
27
     another essential element required for a case to be considered a single asset real estate.
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                                                       3
      DEBTOR’S OPPOSITION TO GRIMM INVESTMENTS, LLC’ MOTION TO DETERMINE CASE IS SINGLE ASSET
                                           REAL ESTATE
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1
     Creditor’s Motion fails to satisfy the single project element and fails to provide any evidence to
2
     support that Mulholland Property is not a single family residence.
3
                                        III. CONCLUSION
4
            Based on the forgoing, Debtor respectfully requests that the Motion be denied.
5

6
                                        LAW OFFICES OF MICHAEL JAY BERGER
7

8    Dated: 9/28/2021                   By:    _/s/ Michael Jay Berger
                                               Michael Jay Berger
9                                              Counsel for Debtor,
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                                               New Holland, LLC

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     DEBTOR’S OPPOSITION TO GRIMM INVESTMENTS, LLC’ MOTION TO DETERMINE CASE IS SINGLE ASSET
                                          REAL ESTATE
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1
                                DECLARATION OF MICHAEL JAY BERGER
2
            I, Michael Jay Berger, declare as follows:
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            1.     I am an Attorney at Law, licensed to practice before all of the courts in the State of
4

5
     California, and in the United States District Court for the Central District of California. I am the

6    sole owner of the Law Offices of Michael Jay Berger (“Applicant”).
7           2.     Debtor’s schedule A/B list seven vacant lots and a single-family residence located

8    at 13511 Mulholland Drive, Beverly Hills, CA 90210 (“Mulholland Drive Property”). Each
9    vacant lot is identified by different APN number. Some of the vacant lots are located in the city
10   of Sherman Oaks while others are located in the city of Beverly Hills. Each parcel is intended
11   for a separate project. The reason that the Debtor combined the Mulholland Drive Property and
12   the vacant lots together on Schedule A/B is because Creditor has a lien against all the properties,
13   and it made sense to list them on the same line versus creating eight different line items and
14   linking each parcel to Creditor’s secured obligations.
15          3.     One of the elements required for the case to be considered a single asset real estate
16   case is that the Debtor generate substantially all of the gross income of the Debtor from the
17
     property. Creditor’s own Motion supports Creditor’s inability to meet the income element of the
18
     SARE test because the Debtor is not generating any income from any of the properties.
19
     Specifically, on page 2 lines 11 – 13, Creditor states that “Debtor lists no income for the past
20
     three years. Nothing else in the Statement of Financial Affairs suggests that there is any
21
     business activity in the Debtor.” Since the Debtor has no income, this element of the SARE test
22
     is not met.
23
            4.     Creditor’s Motion quotes Section 362(d)(3) which provides that “relief from stay
24
     is appropriate unless the Debtor either commences interest payments at the pre-petition non-
25
     default interest rate or files a plan that has a reasonable possibility of confirmation. Those acts
26
     must be commenced upon the later of 90 days after the petition date, or 30 days after the court
27
     determines the case to be a SARE.” See Creditor’s Opposition, page 2, lines 19-23. The filing
28

                                                       5
      DEBTOR’S OPPOSITION TO GRIMM INVESTMENTS, LLC’ MOTION TO DETERMINE CASE IS SINGLE ASSET
                                           REAL ESTATE
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1
     of Creditor’s Motion was unnecessary. The hearing on Creditor’s Motion is set for October 12,
2
     2021, which is the same day the Debtor’s plan and disclosure statements are due. Debtor is
3
     presently working on its plan and disclosure statement with my office and anticipates to have
4
     these documents filed on or before October 12, 2021, which is well within the 90-day period
5
     from the petition date.
6
            5.     The Mulholland Property is a single family residence consisting of 5 bedrooms
7
     and 4 bathrooms. The term “single asset real estate” specifically excludes a residential real
8
     property with fewer than 4 residential units, which is exactly what the Mulholland Property is.
9
     Furthermore, the “single asset real estate” means real property consisting of a single property or
10

11
     project. As noted above, the Debtor owns 7 separate parcels of land with different APN

12
     numbers in different city locations. As such, they cannot be part of a “single project” which is

13   another essential element required for a case to be considered a single asset real estate.

14   Creditor’s Motion fails to satisfy the single project element and fails to provide any evidence to

15   support that Mulholland Property is not a single family residence.
16          Executed on this September 28, 2021, at Beverly Hills, California.
17

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19
                                                            /s/ Michael Jay Berger
                                                                Michael Jay Berger
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      DEBTOR’S OPPOSITION TO GRIMM INVESTMENTS, LLC’ MOTION TO DETERMINE CASE IS SINGLE ASSET
                                           REAL ESTATE
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                                         PROOF OF SERVICE OF DOCUMENT
I am over the age of 18 and not a party to this bankruptcy case or adversary proceeding. My business address is:

9454 Wilshire Blvd., 6th Fl., Beverly Hills, CA 90212

A true and correct copy of the foregoing document entitled (specify): Debtor’s
                                                        Opposition to Grimm Investments,
LLC’s Motion to Determine Case Is Single Asset Real Estate will be served or was served (a) on the judge in
chambers in the form and manner required by LBR 5005-2(d); and (b) in the manner stated below:

1. TO BE SERVED BY THE COURT VIA NOTICE OF ELECTRONIC FILING (NEF): Pursuant to controlling General
Orders and LBR, the foregoing document will be served by the court via NEF and hyperlink to the document. On (date)
9/28/2021, I checked the CM/ECF docket for this bankruptcy case or adversary proceeding and determined that the
following persons are on the Electronic Mail Notice List to receive NEF transmission at the email addresses stated below:

Debtor's Counsel: Michael Jay Berger michael.berger@bankruptcypower.com,
yathida.nipha@bankruptcypower.com;michael.berger@ecf.inforuptcy.com
U.S. Trustee: Ron Maroko ron.maroko@usdoj.gov
United States Trustee (LA) ustpregion16.la.ecf@usdoj.gov
Counsel for Grimm Investment: William C Beall will@beallandburkhardt.com, carissa@beallandburkhardt.com


                                                                                            Service information continued on attached page

2. SERVED BY UNITED STATES MAIL:
On (date) 9/28/2021, I served the following persons and/or entities at the last known addresses in this bankruptcy case or
adversary proceeding by placing a true and correct copy thereof in a sealed envelope in the United States mail, first class,
postage prepaid, and addressed as follows. Listing the judge here constitutes a declaration that mailing to the judge will
be completed no later than 24 hours after the document is filed.


                                                                                            Service information continued on attached page

3. SERVED BY PERSONAL DELIVERY, OVERNIGHT MAIL, FACSIMILE TRANSMISSION OR EMAIL (state method
for each person or entity served): Pursuant to F.R.Civ.P. 5 and/or controlling LBR, on (date) 9/28/2021, I served the
following persons and/or entities by personal delivery, overnight mail service, or (for those who consented in writing to
such service method), by facsimile transmission and/or email as follows. Listing the judge here constitutes a declaration
that personal delivery on, or overnight mail to, the judge will be completed no later than 24 hours after the document is
filed.
Honorable Barry Russell
United States Bankruptcy Court
Central District of California
Edward R. Roybal Federal Building and Courthouse
255 E. Temple Street, Suite 1660 / Courtroom 1668
Los Angeles, CA 90012

                                                                                            Service information continued on attached page

I declare under penalty of perjury under the laws of the United States that the foregoing is true and correct.

        9/28/2021                                    Peter Garza                                /s/Peter Garza
 Date                           Printed Name                                                    Signature




            This form is mandatory. It has been approved for use by the United States Bankruptcy Court for the Central District of California.


June 2012                                                                                           F 9013-3.1.PROOF.SERVICE
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2. SERVED BY UNITED STATES MAIL

SECURED CREDITORS:

Los Angeles County Tax Collector
PO Box 54110
Los Angeles, CA 90054 (Address from POC)

Grimm Investments, LLC
1377 East Valley Road
Santa Barbara, CA 93108

Grimm Investments, LLC
c/o Courtney Taylor, Esq.
6465 Nursery Way
San Luis Obispo, CA 93405

20 LARGEST UNSECURED CREDITORS:

LADWP
PO Box 30808
Los Angeles, CA 90030-0808

So Cal Gas
PO Box C
Monterey Park, CA 91756-5111

Spectrum
PO Box 60074
City of Industry, CA 91716-0074




            This form is mandatory. It has been approved for use by the United States Bankruptcy Court for the Central District of California.


June 2012                                                                                           F 9013-3.1.PROOF.SERVICE
